                     4:18-cv-04063-SEM-TSH # 142           Page 1 of 3
                                                                                             E-FILED
                                                                    Friday, 23 April, 2021 12:11:15 PM
                                                                         Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL, #N53022,                   )
                                         )
             Plaintiff,                  )
                                         )
      vs.                                )       Case No. 18-cv-4063-SEM-TSH
                                         )
MANUEL ROJAS, et al.,                    )
                                         )
             Defendants.                 )

                          MOTION TO SUBSTITUTE COUNSEL

      NOW COMES the Defendants, JOHN BALDWIN, STEPHANIE DORETHY, JOHN

FROST, STEVE GANS, MELISSA PHOENIX, and MANUEL ROJAS, by and through their

attorney, Kwame Raoul, Attorney General of the State of Illinois, and for their Motion to

Substitute Counsel, states as follows:

      1.     Assistant Attorney Philip Andrews is no longer employed with the Attorney

General’s Office.

      2.     Assistant Attorney General Maria D. Gray is now assigned to represent the

above-named Defendants in this matter.

      3.     It is requested that Assistant Attorney General Philip Andrews be removed

from the Court’s service list as counsel for Defendants.




                                             1
                    4:18-cv-04063-SEM-TSH # 142       Page 2 of 3




      WHEREFORE, for the above and foregoing reasons, Defendants respectfully

request this Honorable Court to allow the substitution of Assistant Attorney General

Maria D. Gray for Assistant Attorney General Philip Andrews, as counsel for Defendants

named herein, and that Assistant Attorney General Philip Andrews be terminated and

removed from the service list

                                              Respectfully submitted,

                                              JOHN BALDWIN,
                                              STEPHANIE DORETHY, JOHN FROST,
                                              STEVE GANS, MELISSA PHOENIX, and
                                              MANUEL ROJAS,

                                                    Defendants,

                                              KWAME RAOUL, Attorney General,
Maria D. Gray #6323981                        State of Illinois
Assistant Attorney General
500 South Second Street                             Attorney for Defendants,
Springfield, Illinois 62706
Phone: (217) 782-5819
Fax: (217) 524-5091                           By: s\ Maria D. Gray
Email: mgray@atg.state.il.us                       Maria D. Gray, #6323981
       gls@atg.state.il.us                         Assistant Attorney General




                                          2
                      4:18-cv-04063-SEM-TSH # 142            Page 3 of 3




                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL, #N53022,                      )
                                            )
              Plaintiff,                    )
                                            )
       vs.                                  )        Case No. 18-cv-4063-SEM-TSH
                                            )
MANUEL ROJAS, et al.,                       )
                                            )
              Defendants.                   )

                                CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2021, the foregoing, Motion to Substitute Counsel,
was electronically filed with the Clerk of the Court using the CM/ECF system, which will
send notification of such filing to the following:

                                            NONE

and I hereby certify that on the same date, I caused a copy of the foregoing document to
be mailed by United States Postal Service, in an envelope properly addressed and fully
prepaid, to the following non-registered participant:

                                   Aaron O’Neal, #N53022
                                   Hill Correctional Center
                                     Inmate Mail\Parcels
                                    600 S. Linwood Road
                                         PO Box 1327
                                    Galesburg, IL 61401



                                                     Respectfully submitted,


                                                     s/Maria D. Gray_______
                                                     Maria D. Gray #6323981
                                                     Assistant Attorney General




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